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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

      UNITED STATES OF AMERICA,

                     Plaintiff,

      v.                                            Case No. 8:94-cr-293-T-17TBM

      AN THANH LE,

                     Defendant.
                                              /

                                              ORDER

                     THIS CAUSE is before the court on the Defendant’s Motion for Order

      to Determine Competency (Doc. 645). As a consequence to the filing of the motion, a

      psychiatric evaluation of the Defendant to determine his competence to proceed was

      ordered in accordance of the provisions of 18 U.S.C. § 4241(b). The evaluation was

      conducted April 5, 2006, at the Sarasota County Jail by Dr. Donald R. Taylor, Jr., M.D.,

      a forensic psychiatrist. Thereafter Dr. Taylor submitted a report of his examination to the

      court. The report was disseminated to counsel and the matter calendared for hearing on

      April 19, 2006. Dr. Taylor’s findings indicate that the Defendant has a history of

      intracranial tumor, but no history of mental health problems. By the doctor’s review,

      there was no evidence that Defendant’s physical condition had an adverse effect on his

      level of cognitive functioning and the Defendant’s intellectual capacity is in the average

      to low average range. While he evidenced some knowledge deficiency regarding the

      legal process, the Defendant was nonetheless capable of understanding issues relevant to

      his case as well as the nature and the consequences of the proceedings against him and he

      has the ability to consult with and assist an attorney with a reasonable degree of rational
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      understanding. By his conclusion, the Defendant is competent to proceed to a final

      revocation proceeding relating to his supervised release. The Defendant offers no

      evidence contradicting the conclusions by Dr. Taylor and although he has been offered

      the opportunity of further hearing pursuant to 18 U.S.C. § 4241(c), he waives such

      hearing. Accordingly, there being no evidence contrary to that from Dr. Taylor, the court

      finds the Defendant is competent to proceed to a final revocation hearing on the

      allegations of violation of supervised release.1

                             Done and Ordered in Tampa, Florida, this 20th day of April

      2006.




      Copies furnished to:
      Stephen Muldrow, Assistant United States Attorney
      Frank Zaremba, Counsel for Defendant
      U.S. Marshal




              1
              As indicated at the hearing, the United States Marshal is requested to assure that the
      Defendant is visited by a doctor at the facility currently housing him for consideration of the
      need for any treatment of his intracranial tumor.

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